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 6
 7                            IN THE SUPERIOR COURT OF WASHINGTON
 8                                   IN AND FOR PIERCE COUNTY
 9
      CLAUDIA ARIAS, an individual,
10                                           Plaintiff, No.
11
                            v.                          COMPLAINT FOR DISCRIMINATION
12                                                      (WLAD), WASH. CONST. ART. I SEC.
      STATE OF WASHINGTON –                             11, TORTIOUS INTERFERENCE,
13
      UNIVERSITY OF WASHINGTON                          OUTRAGE, NEGLIGENT INFLICTION
14    TACOMA (“UWT”), a state educational               OF EMOTIONAL DISTRESS,
      institute; VERN HARNER, officially and            NEGLIGENCE, AND 42 U.S.C. § 1983
15
      individually; CLAUDIA SELLMAIER,
16    officially and individually; ANDREA HILL,
      officially and individually; KEVA MILLER,
17
      officially and individually; and ELAVIE
18    NDURA, officially and individually,
                                        Defendants.
19
20
21          Claudia Arias states the following Complaint against Defendants:

22                                           I.       PARTIES
23
     1.01   Plaintiff. Claudia Arias is the Plaintiff in this matter. She was enrolled in the University of
24
25   Washington Tacoma’s Bachelor of Art of Social Welfare program and was a student of Defendant

26   Vern Harner.
27
     1.02   Defendant. State of Washington – University of Washington Tacoma (“UWT”) is a
28
     Defendant in this matter. UWT is a state-funded institution created pursuant to RCW 28B.45
29
30   engaged in the provision of higher education pursuant to the laws of the State of Washington.
31
     1.03   Defendant. Vern Harner is a Defendant in this matter. Harner is an individual who is
32                                                                                      III BRANCHES LAW, PLLC
                                                                                                 Joan K. Mell
33                                                                                       1019 Regents Blvd. Ste. 204
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                                                                                             Fircrest, WA 98466
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 1   employed as a faculty member at UWT. This suit is brought against Harner in Harner’s official
 2
     and individual capacities. Acts performed by Harner in an official capacity were performed by and
 3
     on behalf of UWT. Acts performed by Harner outside the scope of Harner’s employment or that
 4
 5   abused the power of Harner’s position are acts for which Harner may be liable individually or in a
 6
     personal capacity.
 7
     1.04   Defendant. Claudia Sellmaier is a Defendant in this matter. Sellmaier is an individual who
 8
 9   is employed as a faculty member at UWT and is a member of the Professional Standards
10
     Committee. This suit is brought against Sellmaier in Sellmaier’s official and individual capacity.
11
     Acts performed by Sellmaier outside the scope of her employment or that abused the power of her
12
13   position are acts for which Sellmaier may be liable individually or in a personal capacity.
14
     1.05   Defendant. Andrea Hill is a Defendant in this matter. Hill is an individual who is employed
15
     as a faculty member at UWT and is a member of the Professional Standards Committee. This suit
16
17   is brought against Hill in Hill’s official and individual capacity. Acts performed by Hill in an
18
     official capacity were performed by and on behalf of UWT. Acts performed by Hill outside the
19
     scope of Hill’s employment or that abused the power of her position are acts for which Hill may
20
21   be liable individually or in a personal capacity.
22
     1.06   Defendant. Keva Miller is a Defendant in this matter. Miller is an individual who is
23
     employed as a faculty member at UWT and is dean of the School of Social Work & Criminal
24
25   Justice. This suit is brought against Miller in Miller’s official and individual capacity. Acts
26
     performed by Miller in an official capacity were performed by and on behalf of UWT. Acts
27
     performed by Miller outside the scope of Miller’s employment or that abused the power of her
28
29   position are acts for which Miller may be liable individually or in a personal capacity.
30
     1.07   Defendant. Elavie Ndura is a Defendant in this matter. Ndura is an individual who is
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32                                                                                     III BRANCHES LAW, PLLC
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 1   employed by UWT as the Vice Chancellor for Equity and Inclusion. This suit is brought against
 2
     Ndura in Ndura’s official and individual capacity. Acts performed by Ndura in an official capacity
 3
     were performed by and on behalf of UWT. Acts performed by Harner outside the scope of Ndura’s
 4
 5   employment or that abused the power of her position are acts for which Nudura may be liable
 6
     individually or in a personal capacity.
 7
                                   II.   JURISDICTION AND VENUE
 8
 9   2.01   The Court has jurisdiction over the subject matter and parties to these proceedings.
10
     2.02   Venue is proper in Pierce County because the causes of action arose in Pierce County.
11
     2.03   Arias presented her claims to the Office of Risk Management, Department of Enterprise
12
13   Services, on June 25, 2024.
14
     2.04   Arias’ claim form was sufficient and conformed with the requirements of RCW 4.92.100.
15
     More than sixty days has expired since the claim form was received. Defendant State UWT
16
17   rejected any pretrial resolution. This lawsuit has followed.
18
                                 III.    FACTS SUPPORTING RELIEF
19
     3.01   UWT’s mission statement provides as follows:
20
21          The primary mission of the University of Washington is the preservation,
            advancement, and dissemination of knowledge… As one of the nation’s
22
            outstanding teaching and research institutions, the University is committed to
23          maintaining an environment for objectively and imaginative inquiry and for the
            original scholarship and research that ensure the production of new knowledge in
24
            the free exchange of facts, theories, and ideas. To promote their capacity to make
25          humane and informed decisions, the University fosters an environment in which
            its students can develop mature and independent judgment and an appreciation of
26
            the range and diversity of human achievement. The University cultivates in its
27          students both critical thinking and the effective articulation of that thinking.
28
     3.02   UWT failed to achieve its stated mission for its student Arias.
29
     3.03   In 2015, UWT launched its Race & Equity Initiative. UWT committed that “[a]nti-racism
30
31   and equity must be at the core of everything we do. We reaffirm this commitment: that together
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 1   we continue to combat the racism and inequities, both individual and institutional, that persist at
 2
     the University of Washington and throughout our society.”
 3
     3.04   UWT’s Diversity Blueprint stated its number one goal as:
 4
 5          Cultivate an Accessible, Inclusive, and Equitable Climate: The University must
            actively work to create and maintain learning, working, living, and healthcare
 6
            spaces in which students, faculty, and staff from diverse backgrounds believe they
 7          can thrive. Our goal is to foster a welcoming climate that is accessible, inclusive,
            and equitable across our research, healthcare, virtual, and campus environments.
 8
 9   3.05   Defendants failed to adhere to their Diversity Blueprint when excluding Arias from the
10
     Social Work program and denying her access to academic achievement in the school of social
11
     work based upon the false narrative that she was transphobic and had framed the topic of women’s
12
13   rights in a “harmful” manner that was “not aligned with social work values & ethics.”
14
     3.06   Arias was born in 1977 in El Salvador. She immigrated to the United States with her family
15
     in 1981, fleeing the war.
16
17   3.07   Spanish is Arias’ native language. English is her second language.
18
     3.08   Arias spent her younger years in Southern California doing office work and later becoming
19
     a para educator.
20
21   3.09   Arias achieved citizenship in 2011.
22
     3.10   Arias is Catholic and holds conservative values in adherence to her faith and culture.
23
     3.11   From 2010—2019, Arias worked while taking classes at Mount San Jacinto College in
24
25   California, achieving academic success with a GPA over 3.5.
26
     3.12   Arias relocated to Anderson Island, Washington and enrolled in Pierce College to further
27
     pursue her education. She achieved academic success at Pierce College and transferred to UWT to
28
29   complete her bachelor’s degree in social work.
30
     3.13   Arias earned a 3.82 GPA in Autumn 2022, 3.9 in Winter 2023, 3.85 in Spring 2023, and a
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32                                                                                    III BRANCHES LAW, PLLC
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 1   3.87 in Autumn of 2023, and was on the Dean’s List. The lowest academic score she received at
 2
     UWT was 3.3 in Harner’s TSOCWF 404 course Cultural Diversity and Social Justice. In her other
 3
     two Spring 2023 courses she earned a perfect 4.0.
 4
 5   3.14    Arias was selected for the Phi Alpha Honor Society.
 6
     3.15    Arias was part of the National Leadership Society for First Generation College Students.
 7
     3.16    But for Defendants’ misconduct described further below, Arias would have fulfilled all
 8
 9   academic requirements to receive her Bachelor of Arts Degree in Social Work from UWT,
10
     graduating with honors on the Dean’s List in June of 2024.
11
     3.17    In March 2023, Arias enrolled in “Cultural Diversity and Social Justice.” This was a
12
13   required course and one of the last classes she needed to complete prior to her scheduled upcoming
14
     graduation.
15
     3.18    Defendant Harner taught “Cultural Diversity and Social Justice.”
16
17   3.19    Harner is transgender. Harner works to improve the lives of queer and trans communities
18
     through advocacy and other interventions.
19
     3.20    Harner’s curriculum included a “zine” project. A zine was a mini-magazine format with
20
21   illustrative headlines of a social justice subject.
22
     3.21    The zine could be on a topic of the student’s choosing.
23
     3.22    Harner required the topic be “appropriate.”
24
25   3.23    Harner gave no definition of an “appropriate” topic.
26
     3.24    The connection of the topic to social justice was required to be “clear.”
27
     3.25    No definition was given of what constituted a “clear” connection.
28
29   3.26    Harner required the Zine include “at least one reference or resource.”
30
     3.27    In an e-mail, Harner stated [t]hough your sources aren’t required to be academic, they must
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32                                                                                       III BRANCHES LAW, PLLC
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 1   be trustworthy sources.”
 2
     3.28   Harner gave no definition of what constituted a “trustworthy source.”
 3
     3.29   In an e-mail, Harner provided a link to a website with an “interactive media bias chart.”
 4
 5   3.30   This website was to be used by the students to check if sources were “reputable.”
 6
     3.31   The website was found at https://adfontesmedia.com/interactive-media-bias-chart/.
 7
     3.32   Arias chose the topic of “women’s rights” for her zine.
 8
 9   3.33   Specifically, Arias decided to examine women’s rights in prison.
10
     3.34   Arias’ research on this topic led her to discussions about the Prison Rape Elimination Act.
11
     3.35   Arias was concerned generally with the issue of rape in women’s prisons.
12
13   3.36   Harner provided the following rubric for the zine assignment:
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 1   3.37   Arias prepared the following draft zine response to Harner’s rubric instruction:
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 1   3.38   Arias included in her zine, among other sources, a link to a report by James O’Keefe who
 2
     had done research inside Washington correctional facilities.
 3
     3.39   The website to which Defendant Harner had directed students for checking media bias
 4
 5   (https://adfontesmedia.com/interactive-media-bias-chart/) had both free and paid features.
 6
     3.40   The free version of https://adfontesmedia.com/interactive-media-bias-chart/ did not
 7
     provide any information on James O’Keefe to suggest bias.
 8
 9   3.41   James O’Keefe interviewed female prison inmates in Washington who were housed with
10
     transgender women (people whose assigned or biological sex was male).
11
     3.42   The interview responses raised concerns that individuals were manipulating the system in
12
13   order to have sex with female prison inmates. An inmate’s birth gender, regardless of chosen
14
     identity, presented security issues in confinement.
15
     3.43   Arias expressed no agreement or disagreement with the sources contained within her zine.
16
17   3.44   On April 26, 2023, Harner sent an e-mail to the class about the zine assignment, stating
18
     students were required to “check in with” Harner the next day about their topics.
19
     3.45   On Thursday, April 27, 2023, Arias brought a draft of her zine to class for review and
20
21   feedback by Harner.
22
     3.46   Harner reviewed the zine and provided negative feedback that was unclear.
23
     3.47   Harner displayed examples that did not clarify what Harner found objectionable.
24
25   3.48   Arias queried Harner, “I am confused, I don’t understand how this is not a community
26
     response, this is a social justice issue, it’s something that is happening to women in prison.” She
27
     then repeated, “I don’t understand, I’m confused as to what I’m doing wrong.
28
29   3.49   Harner reacted negatively to Arias’ query. Harner stood up dramatically, and with a flared
30
     arm and in a loud tone pronounced, “this is targeting transgender.”
31
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 1   3.50   Harner then quickly backed into the desk/podium with an exaggerated response conveying
 2
     disdain towards Arias and her zine.
 3
     3.51   Another student asked for help, and Harner said, “not right now, give me a minute,”
 4
 5   dramatizing Harner’s response to Arias with an unprofessional display of feigned injury that was
 6
     clearly biased and without any objectivity or clear educational purpose. Harner was belittling and
 7
     attempting to humiliate Arias.
 8
 9   3.52   Arias collected her belongings to go to her next class, feeling disparaged, insulted, and
10
     ostracized. The exchange disrupted Arias’ learning and interfered with her educational goals.
11
     3.53   On the way to her next class, Arias remembered she had an assignment to turn in to Harner
12
13   and returned to the classroom.
14
     3.54   When Arias returned, she asked Harner if she could have her draft zine reviewed later that
15
     day with Harner one-on-one.
16
17   3.55   Harner said “I am unavailable for additional meetings this afternoon,” and did not offer
18
     any other time.
19
     3.56   Arias asked if Harner could schedule feedback for the following Tuesday.
20
21   3.57   Harner discouraged Arias saying, “I am not sure right now.”
22
     3.58   Approximately one and a half hours later, Harner e-mailed Arias the following:
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32                                                                                   III BRANCHES LAW, PLLC
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20   3.59   The e-mail from Harner stated, “the current discussion and framing of the topic that I saw
21
     in your project today is harmful and not aligned with social work values & ethics.”
22
23   3.60   Harner did not explain how Arias’ project was “harmful.”
24   3.61   Harner did not explain how Arias’ zine was “not aligned with social work values & ethics.”
25
     Harner labeled Arias as inappropriate in her zine communication, and her actions not in “good
26
27   faith.” Both criticisms and characterizations were false.
28   3.62   The e-mail from Harner contained links to three “sources.”
29
     3.63   The three “sources” were: a webpage of the National Association of Social Works’
30
31   (NASW) Code of Ethics (https://socialworker.org/About/Ethics/Code-of-Ethics/Code-of-Ethics-
32                                                                                   III BRANCHES LAW, PLLC
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 1   English/Social-Workers-Ethical-Responsibilities-to-Clients); a webpage of the NASW called
 2
     “Sexual                 Orientation              and               Gender                 Diversity”
 3
     (https://www.socialworkers.org/Practice/LGBTQIA/Sexual-Orientation-and-Gender-
 4
 5   Diversity#:~:text=Social%20workers%20have%20an%20ethical,sexual%20orientation%2C20an
 6
     d%20sex%20characteristics.); and an article published on the ACLU’s website “Trans Rights are
 7
     Women’s Rights” (https://www.aclu.org/news/lgbtq/rights/trans-rights-are-womens-rights).
 8
 9   3.64    None of these “sources” addressed what resources were appropriate to use in a social
10
     welfare class assignment.
11
     3.65    None of these “sources” prohibited a social welfare student from discussing transgender
12
13   issues in confinement or conveying reported complaints of exploitation and safety concerns
14
     expressed by women in prison.
15
     3.66    Arias never communicated any personal belief that transgender people fabricated gender
16
17   preferences or were otherwise “faking it.”
18
     3.67    Arias never communicated that transgender people were less deserving of recognition -
19
     social or political.
20
21   3.68    On the second page of Arias’ draft zine, she observed three examples of situations in prison
22
     that identified social welfare issues.
23
     3.69    One of the examples concerned access to medical care: “[t]ransgender. Denying her
24
25   medically necessary therapeutic doses of hormone therapy and medically necessary gender
26
     expression allowances, including access to permanent hair removal, female undergarments, female
27
     canteen items, and accommodations for a female hairstyle and grooming standards, which fall
28
29   short of the adequate medical care. Ashley Diamond vs. Timothy Ward.”
30
     3.70    Arias expressed to Defendants in an October 31, 2023, e-mail that she “vehemently
31
32                                                                                     III BRANCHES LAW, PLLC
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 1   oppose[s] all forms of discrimination, including transphobia.”
 2
     3.71   In Arias’ admission essay for the social welfare program she wrote, “I feel that all people
 3
     should be treated with respect and dignity and their life shall be valued as I value my own.”
 4
 5   3.72   In the April 27, 2023 e-mail from Harner, Harner directed Arias to Defendant Sellmaier or
 6
     Professor Chris Barans if she had any more questions or concerns. Harner was unavailable to Arias.
 7
     Harner made Arias feel unwelcome in class, the department, and on campus. Harner filed a
 8
 9   fabricated and unwarranted professional standards complaint against Arias.
10
     3.73   On Monday, May 1, 2023 at 11:23 a.m., Arias sent an e-mail to Sellmaier asking to meet.
11
     3.74   Arias was scheduled to meet Sellmaier on May 2, 2023, at 12:30 p.m. Arias expected
12
13   Sellmaier to assist in debunking Harner’s complaints and otherwise diffusing Harner’s animus.
14
     3.75   At 11:59 a.m. on May, 1 2023, before Arias had any opportunity to be heard or meet with
15
     Sellmaier, Arias received an e-mail from Defendant Andrea Hill with the subject “Professional
16
17   Standards Committee – Your Attendance Required.
18
     3.76   The May 1, 2023, e-mail from Hill stated “[t]here has been a request to convene the
19
     Committee to discuss some issues related to TSOCWF40 [Harner’s class].” This e-mail was
20
21   obscure and gave insufficient notice to Arias of any professional standards complaint, its content,
22
     or the purpose and objectives of the meeting.
23
     3.77   When Arias received this e-mail, she felt shocked and could not believe it. She was not
24
25   given sufficient notice nor a fair opportunity to prepare. She did not have any knowledge of what
26
     offended Harner or anyone else or why she would have to defend herself before the professional
27
     ethics committee.
28
29   3.78   Arias replied to the May 1, 2023, e-mail from Hill noting her availability for the required
30
     meeting and explaining that she was meeting with Sellmaier the following day to discuss Arias’
31
32                                                                                    III BRANCHES LAW, PLLC
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 1   concerns about Harner.
 2
     3.79   On May 2, 2023 Arias met with Sellmaier.
 3
     3.80   At the beginning of the May 2, 2023, meeting, Sellmaier told Arias she had spoken to
 4
 5   Harner and was already aware of the issue. Sellmaier was unwelcoming and had adopted Harner’s
 6
     animus before Arias was given any opportunity to speak.
 7
     3.81   As Arias talked about the draft zine, she attempted to explain to Sellmaier that she did not
 8
 9   understand why she was being sent to the Professional Standards Committee because she did not
10
     have an opportunity to review any complaint from Harner with Harner, which was a pre-requisite
11
     to any professional standards involvement.
12
13   3.82   A document titled “University of Washington Tacoma Social Work and Criminal Justice
14
     Professional Standards Committee” states, “[t]he Professional Standards Committee (PSC)… is a
15
     body of faculty whose role is to address concerns that cannot be resolved by those directly involved
16
17   in the situation… Those individuals who are directly involved should make a concerted effort to
18
     resolve the concern prior to a referral to the PSC.”
19
     3.83   After Arias expressed that she did not understand why she was being sent to the PSC,
20
21   Sellmaier accused her of being transphobic.
22
     3.84   When Sellmaier accused Arias of being transphobic, Arias felt offended, attacked, belittled,
23
     and overwhelmed.
24
25   3.85   When Arias tried to say anything to defend herself, Sellmaier repeatedly insulted Arias
26
     with the offensive slur accusing Arias of being transphobic.
27
     3.86   When Arias pointed out to Sellmaier that the professional standards policy had a
28
29   requirement of exhausting other avenues, Sellmaier was dismissive and said the document was
30
     irrelevant, saying “[d]on’t follow what’s on here.”
31
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 1   3.87      Arias asked Sellmaier to put the correct information in writing, but Sellmaier disregarded
 2
     this request for clarification.
 3
     3.88      Sellmaier told Arias, “[i]t is not the end of the world.”
 4
 5   3.89      On May 16, 2023, Arias met with the following individuals over Zoom: Hill, Sellmaier,
 6
     Harner, and Roseanne Martinez, a student advocate.”
 7
     3.90      Hill started the meeting by stating Arias’ topic was extremely transphobic.
 8
 9   3.91      When Hill made this comment, she had not seen Arias’ draft zine.
10
     3.92      Harner then stated Arias’ topic was not aligned with social work values.
11
     3.93      Harner never explained how Arias’ assignment did not align with social work values.
12
13   3.94      Arias informed everyone in the meeting that she was not given an opportunity to resolve
14
     the issue with Harner before being referred to the PSC. Arias referenced the professional standards
15
     policy.
16
17   3.95      Arias was not given the right or the opportunity to speak to anyone about her draft zine
18
     prior to being compelled to appear before a hostile professional standard committee that had
19
     already assimilated Harner’s hostile animus and accusatory tone.
20
21   3.96      Arias expressed that her ability to learn was being compromised and that she did not
22
     understand what it was she had done wrong or that conveyed any hostility towards transgender
23
     people.
24
25   3.97      Arias explained that English was not her first language, that Spanish only uses two
26
     pronouns, and that being constantly interrupted to correct her pronoun usage made it difficult for
27
     her to think clearly and to speak.
28
29   3.98      Arias further told the committee that her religious beliefs influenced her viewpoint on
30
     gender identity.
31
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 1   3.99   Having a religious belief about gender identity does not make an individual transphobic.
 2
     3.100 Arias asked the committee to respect her religious and cultural background.
 3
     3.101 The attendees other than Arias left into a private chat room for approximately 10 minutes.
 4
 5   3.102 When the other attendees returned to the meeting, they informed Arias that she was
 6
     transphobic and was not aligning with social work values or justice.
 7
     3.103 Again, Arias felt offended, attacked, belittled, and overwhelmed.
 8
 9   3.104 On May, 25, 2023, Arias received an e-mail from Hill containing “requirements for moving
10
     forward.”
11
     3.105 The “requirements for moving forward” were that Arias write essays discussing “Social
12
13   Work’s Responsibilities to Trans Individuals” and “Ethical & Professional Behavior and
14
     Communication.” Arias understood she was to assimilate her views to those of Harner and
15
     communicate as dictated by Harner and the PSC. Their demands conflicted with Arias’ cultural
16
17   and religious beliefs and were biased and discriminatory.
18
     3.106 Based on the PSC’s treatment toward her, Arias was convinced she was not being heard,
19
     nor respected because of her conservative values grounded in her race and religious beliefs.
20
21   3.107 Based on the PSC’s disregard of their own standards and refusal to respect her, Arias
22
     believed she would be dropped from the program whether she wrote the essays or not.
23
     3.108 Arias posed questions to clarify expectations that were dismissed or ignored.
24
25   3.109 The only direction Arias received was to reflect on herself.
26
     3.110 On August 27, 2023, Arias reported the situation by e-mail to Defendant Ndura, Vice
27
     Chancellor for Equity and Inclusion, and Defendant Miller, MSSW Dean & Professor, School of
28
29   Social Work & Criminal Justice.
30
     3.111 On August 29, 2023, Miller responded to the e-mail, saying “[y]ou are strongly encouraged
31
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 1   to follow the requirements as laid out in the letter from the PSC. I understand you have posed
 2
     several questions, most of which you are required to reflect upon and answer independently based
 3
     on the communications with Dr. Harner, Dr. Sellmaier, and the PSC.”
 4
 5   3.112 On September 6, 2023, Arias met with Ndura. After Arias spoke, Ndura stated, “how would
 6
     you feel if someone came up to you and said you were Asian.”
 7
     3.113 Arias responded that was not something that would have a negative impact on her. She
 8
 9   stated she would let the person know where she is from and proceed with a conversation.
10
     3.114 Ndura told Arias she had to reflect on herself because Arias did not know if she transphobic
11
     until she would reflect and think of how harmful she can be.
12
13   3.115 At no time did Arias refuse to “reflect” on herself.
14
     3.116 On October 31, 2023, Arias decided against writing the compelled essays because the
15
     expected content would require an admission of wrongdoing, when she did not engage in
16
17   wrongdoing, and would otherwise discriminate against her religious and race-based beliefs in
18
     violation of her rights. The faculty members involved refused to clarify how her draft zine did not
19
     align with social work values or what unbiased position she could express in such writings that
20
21   would align with social work values.
22
     3.117 On October 31, 2023, Arias e-mailed Hill, Harner, Sellmaier, and student advocate
23
     Roseann Martinez and informed them that she could not author writings prompted by false
24
25   accusations of wrongdoing.
26
     3.118 On November 27, 2023, Arias had a final Zoom meeting with Hill and the other faculty
27
     members.
28
29   3.119 In the November 27 meeting, Arias mentioned not receiving a response or clarification
30
     regarding the purpose of the essays.
31
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 1   3.120 In the November 27 meeting, Arias also told Hill and other faculty members that they were
 2
     discriminating against her religious beliefs and culture and infringing on her First Amendment
 3
     rights.
 4
 5   3.121 On November 29, 2023, Defendants received further information regarding Arias’
 6
     religious beliefs and the extreme importance of those beliefs in guiding her actions.
 7
     3.122 Once again, these deeply held religious beliefs did not comport with the orthodox views at
 8
 9   UWT.
10
     3.123 When Arias had transferred to the BASW program, she was required to get a COVID-19
11
     vaccine.
12
13   3.124 Arias made the decision to get a COVID-19 vaccine, proof of which was provided to UWT.
14
     3.125 Arias regretted that decision.
15
     3.126 When Arias was required to get another round of COVID-19 vaccine, she consulted her
16
17   pastor.
18
     3.127 After this consultation, Pastor Bradly D. Fogal wrote a letter explaining that Arias needed
19
     an exemption from the vaccine requirement.
20
21   3.128 In this letter, which was provided to UWT and the BASW program, Pastor Fogal explained
22
     that receiving the COVID-19 vaccine was in direct conflict with Arias’ religious beliefs, namely
23
     that it is morally wrong to receive a vaccine that used fetal cells in the development stage.
24
25   3.129 Because she believed receiving the vaccine was morally wrong, Arias repented for her
26
     initial decision to receive the vaccine.
27
     3.130 Arias sought exemption from any vaccine requirement by Defendants.
28
29   3.131 Therefore, Defendants knew Arias had these deeply and sincerely held religious beliefs.
30
     3.132 Arias never received a decision from Defendants regarding her request for a religious
31
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 1   exemption. Defendants did not engage in any interactive process.
 2
     3.133 On December 8, 2023, Hill and Miller dropped Arias from all future classes, terminated
 3
     her participation in the internship program, and dropped her from the social welfare program.
 4
 5   3.134 These actions left Arias unable to complete her degree with only four classes left.
 6
     3.135 Arias has inquired with three universities about completing her bachelor of social work.
 7
     3.136 Grand Canyon University told Arias she would have to reapply and start the program over.
 8
 9   3.137 Pacific Lutheran University told Arias she would be better off staying with Defendant
10
     University of Washington.
11
     3.138 South Eastern University told Arias she would need to start the entire program over.
12
13   3.139 As a working mother, Arias spent fourteen years working toward her degree.
14
     3.140 It is economically unfeasible for Arias to start over on her degree program. She has been
15
     denied access to the social work field and has been denied an education in social work.
16
17   3.141 UWT and the BASW program arranged a practicum (internship) for Arias at Consejo
18
     Counseling and Referral Services, to begin in January 2024. The internship was intended to
19
     transition to full-time employment as a social worker at a pay rate commensurate with that
20
21   credential.
22
     3.142 As a consequence of Defendants dropping Arias from the BASW program, Consejo
23
     Counseling was not able to work with Arias to fulfill the agreed upon internship.
24
25   3.143 Consejo Counseling opted to employ Arias in an administrative role.
26
     3.144 Because Arias does not have bachelor’s degree in social work, she is paid less for her work
27
     at Consejo Counseling.
28
29   3.145 Because Arias does not have a bachelor’s degree in social work, she is limited in the
30
     positions she can work at Consejo Counseling.
31
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 1   3.146 Defendants’ actions have prevented Arias from achieving her dream of serving her
 2
     community as a social worker.
 3
     3.147 Defendants have ostracized Arias from her peers through shaming, isolation,
 4
 5   dismissiveness, and denial of access to facilities and services and gainful employment and
 6
     credentialling as a social worker.
 7
     3.148 Defendants have falsely accused Arias of transphobia and of lacking moral standards to
 8
 9   qualify as a social worker.
10
     3.149 Arias has suffered the usual and ordinary insults and injuries associated with
11
     discrimination.
12
13   3.150 Arias has treated her emotional injuries that have manifested physically with religious and
14
     secular behavioral health providers, and continues to do so.
15
     3.151 Defendants have caused Arias to suffer economic losses in the past and continuing into the
16
17   future to include past and future wage and benefit losses.
18
     3.152 Defendants have caused Arias to suffer non-economic losses in the past and continuing
19
     into the future.
20
21                                     IV.    CAUSES OF ACTION
22
             The above factual allegations are incorporated into the following causes of action:
23
                                           First Cause of Action
24
                        Washington Laws Against Discrimination (“WLAD”) – RCW 49.60
25
     4.01    RCW 49.60.010 prohibits discrimination against any inhabitant because of creed.
26
27   4.02    RCW 49.60.010 prohibits discrimination against any inhabitant based upon race and
28
     national origin.
29
     4.03    RCW 49.60.010 prohibits discrimination against any inhabitant based upon sex or sexual
30
31   orientation.
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 1   4.04   Arias is a Washington inhabitant.
 2
     4.05   “Creed” refers to religious belief.
 3
     4.06   Arias is Catholic and holds conservative values consistent with her faith. This includes
 4
 5   beliefs that equate birth anatomy with gender that is either male or female and that COVID
 6
     vaccinations may be unconscionable. She chose not to continue with COVID vaccinations and
 7
     sought religious exemption. She believes in female empowerment and equity.
 8
 9   4.07   Arias immigrated from El Salvador. She is Hispanic. English is her second language. Based
10
     upon her culture, she learned to speak English using the Spanish recognized male and female
11
     pronouns when translating. Her election not to use the pronoun “they” when referencing a singular
12
13   person was grounded on her Hispanic race as well as her fundamental religious beliefs.
14
     4.08   Arias is a female who expressed academic interest in the vulnerability of women in
15
     confinement to include those who encounter men posing as transgender to exploit sexually
16
17   incarcerated women as well as other empowerment issues for transgender populations in
18
     confinement.
19
     4.09   Arias is a protected class member for purposes of WLAD.
20
21   4.10   Defendant Harner holds a hostile animus toward conservatives like Arias. Harner is a
22
     transgender activist. According to UWT, Harner has said “I’m out as trans”; “I’m embedded in the
23
     community and by doing trans-focused research I can offer additional insight because I live and
24
25   breathe trans culture”; “[t]here is a need to support trans scholars, particularly trans scholars of
26
     color”; “[p]olicy is Vern Harner’s love language. To me it means, walk the walk. Put your words
27
     into action through policy to enact substantive change for communities that we need to see”;
28
29   “Harner    is   doing   that   with   their   research     and   with     advocacy     within      UW.”
30
     https://www.tacoma.uw.edu/news/right-fit-0.
31
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 1   4.11   UWT characterizes Harner as the “The Right Fit” on its website.
 2
     4.12   Harner uses the pronoun “they” and expected Arias to use “they” rather than “she” when
 3
     referencing Harner. Arias used “she,” believe the pronoun proper grounded upon her religious
 4
 5   beliefs and race.
 6
     4.13   UWT published a Harner podcast interview labeled “Beining Themself” on “Paw’d
 7
     Defiance” wherein Harner stated an affinity to “prank and to mess with people,” particularly on
 8
 9   transgender topics.
10
     4.14   Harner was intolerant of Arias who did not embrace Harner’s transgender activism or
11
     otherwise share Harner’s belief that “they” was the proper and exclusive pronounce reference for
12
13   Harner.
14
     4.15   Harner abused Harner’s power as an educator to discredit Arias because of Arias’
15
     conservative values grounded in cultural, religious, and female gender-specific beliefs. Harner
16
17   created a hostile educational environment intolerant of religious and race-based beliefs distinct
18
     from Harner’s own or that did not embrace Harner’s transgender activism. Those students willing
19
     to espouse Harner’s transgender language and beliefs were given preferential treatment and
20
21   attention while Defendants expelled Arias. Harner gave special preference to transgender students
22
     and those students aligning their interests with Harner’s transgender agenda.
23
     4.16   Harner took offense to Arias’ zine on the topic of transgender issues in confinement. Harner
24
25   attacked Arias, labeling Arias and her material transphobic. Harner shunned Arias publicly in the
26
     classroom in front of Arias’ peers. Harner made it known that Arias and her beliefs were
27
     unwelcome. Harner withheld needed academic supports. Harner disparaged Arias to the
28
29   administration and pressed for and achieved Arias’ removal from the social work program.
30
     4.17   Defendants UWT and Sellmaier, Hill, Miller, and Ndura created a hostile educational
31
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 1   environment, through repetitive and continuing acts and omissions, slighting, patronizing, and
 2
     punishing Arias for her religious and race-based beliefs.
 3
     4.18   Defendants treated Arias disparately when removing Arias from UWT School of Social
 4
 5   Work without any meaningful opportunity to be heard on the false allegations that she was
 6
     “transphobic” and that her work product did not “align with social work values.”
 7
     4.19   Defendants ostracized and singled out Arias, demanding she affirm Harner’s transgender
 8
 9   advocacy, repent for using “she” instead of “they,” and otherwise espouse transgender doctrine
10
     that conflicted with her religious and race-based beliefs.
11
     4.20   Defendants failed to accommodate Arias and her religious and race-based beliefs.
12
13   4.21   Defendants misinterpreted and misapplied social work ethics and values in a discriminatory
14
     manner.
15
     4.22   Defendants failed to engage in the required interactive process with Arias to accommodate
16
17   her religious and race-based beliefs.
18
     4.23   Defendants engaged in unlawful discrimination.
19
     4.24   WLAD prohibits discrimination in higher education.
20
21   4.25   WLAD prohibits discrimination based on contract.
22
     4.26   WLAD prohibits discrimination in places of public accommodation.
23
     4.27   Defendant UWT is a provider of higher education based on contract in places of public
24
25   accommodation.
26
     4.28   Defendants Harner, Sellmaier, Hill, Miller, and Ndura are “persons” subject to the anti-
27
     discrimination provisions of WLAD in an individual capacity.
28
29   4.29   All Defendants may be deemed state actors for purposes of RCW 49.60.400 which
30
     prohibits preferential treatment to any individual or group based upon race, ethnicity, national
31
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 1   origin, or sex in public education and contracting. All Defendants sought preferential treatment for
 2
     students who aligned their speech and work product with that of Defendants’ discriminatory
 3
     beliefs.
 4
 5   4.30       Defendants attempted to force Arias to conform to align with their discriminatory beliefs.
 6
     When she respectfully refused, Defendants punished her by removing her from the social work
 7
     program and denying her access to her declared major, licensure as a social worker, and
 8
 9   employment as a social worker.
10
     4.31       All Defendants are persons who engaged in the unfair practices of aiding, abetting,
11
     encouraging, and inciting the commission of unfair practices in violation of WLAD, RCW
12
13   49.60.220.
14
     4.32       All Defendants engaged in unfair practices in violation of RCW 49.60.215 when
15
     committing acts that directly and indirectly distinguished, restricted, and discriminated against
16
17   Arias because of her religious beliefs and her race, ethnicity, and national origin.
18
     4.33       For discriminatory reasons, all Defendants refused and withheld from Arias admission and
19
     presence in public accommodation and assemblage at UWT baccalaureate program for social work
20
21   and her internship to fulfill her social work educational requirements for discriminatory reasons.
22
     4.34       Arias contracted with UWT to obtain her academic credentials in the field of social work.
23
     4.35       Defendants conditioned Arias’ success and achievement of a bachelor’s degree in social
24
25   work on her suspending her religious beliefs and adopting Defendants’ beliefs without
26
     accommodation. Defendants further conditioned Arias’ success and achievement of a bachelor’s
27
     degree in social work on her voluntary use of the improper pronoun “they” when referencing
28
29   Harner when such use was contrary to Arias’ dialect or native language to include education in
30
     proper use of the English language and her religious beliefs.
31
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 1   4.36     Defendants violated WLAD when labeling Arias as “transphobic” because she used proper
 2
     pronouns to include “she” when referencing Harner; when reprimanding her for expressing interest
 3
     in exploring transgender issues in secure facilities grounded on male versus female anatomy; and
 4
 5   when demanding she suspend her religious beliefs and write a paper disavowing her religious and
 6
     cultural beliefs.
 7
     4.37     Defendants discriminated unlawfully against Arias.
 8
 9   4.38     Defendants created a hostile education environment in violation of WLAD.
10
     4.39     Defendants treated Arias disparately from other students who did not share her religious
11
     beliefs or Hispanic background with English as a second language.
12
13   4.40     Defendants failed to accommodate Arias.
14
     4.41     Defendants’ discriminatory acts began on or about April 27, 2023, and continue to the
15
     present date and indefinitely into the future.
16
17   4.42     As a direct and proximate result of Defendants’ discrimination, Arias has been harmed and
18
     damaged, in the past and continuing into the future, all in an amount to be proven at the time of
19
     trial.
20
21   4.43     As a direct and proximate result of Defendants’ discrimination, Arias has incurred
22
     attorney’s fees and costs all in an amount to be proven at the time of trial.
23
                                          Second Cause of Action
24
                                       Wash. Const. Article I, Section 11
25
     4.44     Washington Const. art. I, Section 11 protects the free exercise of religion. Arias was
26
27   entitled to absolute freedom of conscience in all matters of religious sentiment, belief and worship.
28
     4.45     Arias brings a direct cause of action to enforce her state constitutional rights to free exercise
29
     of religion against Defendants. Defendants were state actors abusing the power of their state
30
31   offices at UWT.
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 1   4.46   Arias holds sincere religious beliefs that gender is determined at birth and that use of the
 2
     improper pronoun “they” when referencing a single individual espouses and communicates beliefs
 3
     that are contrary to her religious teachings. Arias further believes that her zine presented genuine
 4
 5   issues of social justice that comport with her religious beliefs and that she was punished and
 6
     expelled based upon that content and her communications to include expressing religious objection
 7
     to vaccination.
 8
 9   4.47   Defendants labeled Arias “transphobic” and her beliefs out of line with social work values
10
     and otherwise condemned her for communicating her beliefs and advocating against assimilation
11
     to Defendants’ beliefs that did not align with her religious sentiments.
12
13   4.48   Defendants’ expectation that Arias use the improper pronoun “they” when referencing
14
     Harner or be deemed “transphobic” burdened Arias’ free exercise of religion.
15
     4.49   Defendants’ demands that Arias write essays aligning her speech and communications with
16
17   their vague, ambiguous, and transgender propaganda and advocacy as a condition of her being
18
     allowed to complete her education and graduate with a social work or social welfare credential
19
     burdened her exercise of religion.
20
21   4.50   Defendants placed a substantial burden on Arias exercising her religion because they
22
     refused Arias access to the field of social work/welfare because they took offense at her zine, and
23
     that she would not align her speech with their speech and would not disavow her religious faith
24
25   and integrity in her speech and communications to adopt their narrow and prejudicial perspectives
26
     on social work values. Defendants imposed a complete bar or ban on Arias, blacklisting her and
27
     barring her from social work entirely.
28
29   4.51   Social work requires recognition of differing values that are based in religion.
30
     4.52   Social work does not require use of the improper pronoun “they” when referencing Harner
31
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 1   or any other person who opposes gender specific pronouns. Social work does not require COVID
 2
     vaccination.
 3
     4.53    Social work does not require a worker assimilate through “self-contemplation” or
 4
 5   otherwise disavow her religious beliefs.
 6
     4.54    Defendants’ total moratorium on Arias completing her social work program and graduating
 7
     with her class violated her religious freedoms.
 8
 9   4.55    As a direct and proximate result of defendants’ religious discrimination in violation of
10
     Washington Const. art. I section 11, Arias has been harmed and continues to suffer harm.
11
     4.56    Arias seeks an order invalidating defendants’ conditions upon her completing her social
12
13   work education, and further an order reversing her expulsion and reinstating her into the program
14
     to complete her degree without further discrimination or blacklisting, recrimination, or retaliation.
15
     4.57    Arias seeks to enjoin any and all future violations of her religious freedoms by Defendants.
16
17                                         Third Cause of Action
                    42 U.S.C. § 1983 – First Amendment Right to Free Exercise of Religion
18
19   4.58    Defendants Harner, Sellmaeir, Hill, Miller, and Ndura violated Claudia Arias’ free exercise
20
     of religion in violation of the United States Constitution, which is actionable under 42 U.S.C. §
21
     1983.
22
23   4.59    Color of Law. Defendants are persons who acted under color of law. Defendants are those
24
     individuals employed by the State who abused the power of their state offices in a personal capacity
25
     to administer policies of the university that conflicted with Arias’ religious freedoms, and had final
26
27   decision making authority when harassing, intimidating, and expelling Arias from UWT – social
28
     work bachelor’s program on false allegations that she was “transphobic” because Arias used the
29
     pronoun she in reference to Harner rather than Harner’s desired improper pronoun “they” and
30
31   because Arias prepared a zine and defended it that referenced transgender safety issues in
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 1   confinement. Arias did not use the pronoun “they” when referencing Harner because that word
 2
     choice messaged beliefs inconsistent with her religious values and cultural background. The
 3
     content of her zine was not transphobic and was consistent with her religious values and beliefs in
 4
 5   advocating for women and protecting them from exploitation and abuse.
 6
     4.60   Defendant Harner’s actions in creating a hostile educational environment where Arias’
 7
     religious expression was unwelcome by belittling Arias in the classroom and before her peers,
 8
 9   publishing communications condemning Arias and mischaracterizing Arias’ actions in a negative
10
     fashion, demanding expression that adopts and aligns with Harner’s transgender advocacy,
11
     refusing to recognize Arias’ sincerely held religious beliefs, shunning Arias and failing to offer
12
13   any intelligible explanation of what Arias had done wrong, referring Arias to a professional
14
     standards committee then advocating for Arias’ condemnation, and advocating in the professional
15
     standards meeting for adverse action against Arias that led to conditioning Arias’ success on
16
17   intolerable punishment and conformance with Harner’s values without regard to Arias’ religious
18
     expression, and taking adverse action against Arias to expel her and blacklist her from obtaining a
19
     social work education at UWT among other actions to include those to be further discovered, were
20
21   a direct and proximate cause of harm and damages suffered by Arias.
22
     4.61   Defendant Sellmaier’s actions in creating a hostile educational environment where Arias’
23
     religious expression was unwelcome, condemning Arias, refusing to recognize Arias’ sincerely
24
25   held religious beliefs, failing to offer any intelligible explanation of what Arias had done wrong,
26
     repeatedly calling Arias “transphobic,” labeling use of a proper pronoun in reference to Harner
27
     rather than Harner’s desired “they” as transphobic and otherwise meriting punishment, advocating
28
29   in the professional standards meeting to take adverse action against Arias, and taking adverse
30
     action against Arias to ultimately expel her and blacklist her from obtaining a social work
31
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 1   education at UWT among other actions to include those to be further discovered, were a direct and
 2
     proximate cause of harm and damages suffered by Arias.
 3
     4.62   Defendant Hill’s actions in creating a hostile educational environment where Arias’
 4
 5   religious expression was unwelcome, refusing to recognize Arias’ sincerely held religious beliefs,
 6
     failing to offer any intelligible explanation of what Arias had done wrong, repeatedly calling
 7
     Claudia Arias “transphobic,” participating in the PSC meeting that led to adverse action being
 8
 9   taken against Arias, and finally kicking Arias out of the BASW program, among other actions to
10
     include those to be further discovered, were a direct and proximate cause of harm and damages
11
     suffered by Arias.
12
13   4.63   Defendant Miller’s actions in creating a hostile educational environment where Arias’
14
     religious expression was unwelcome, refusing to recognize Arias’ sincerely held religious beliefs,
15
     failing to offer any intelligible explanation of what Arias had done wrong, and finally kicking
16
17   Arias out of the BASW program among other actions to include those to be further discovered,
18
     were a direct and proximate cause of harm and damages suffered by Arias.
19
     4.64   Defendant Ndura’s actions in in creating a hostile educational environment where Arias’
20
21   religious expression was unwelcome, refusing to recognize Arias’ sincerely held religious beliefs,
22
     failing to offer any intelligible explanation of what Arias had done wrong, and calling Arias
23
     “transphobic,” and generally blacklisting her from achieving academic success in the field of social
24
25   work, among other actions to include those to be further discovered, were a direct and proximate
26
     cause of harm and damages suffered by Arias.
27
     4.65   Arias’ First Amendment Right to Free Exercise of Religion was violated by each individual
28
29   Defendant when they:
30
        (a) Repeatedly insulted Arias with the label “transphobic,” solely on the basis of her expressed,
31
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 1          sincerely held religious beliefs about gender;
 2
        (b) Attempted to force Claudia Arias to write essays acknowledging “gender diversity,”
 3
            knowing the expression of such a belief was contrary to Claudia Arias’ expressed, sincerely
 4
 5          held religious beliefs about gender; and
 6
        (c) Dropped Claudia Arias from her internship and the social welfare program because of her
 7
            religiously-motivated beliefs about gender and refusal to deny those beliefs.
 8
 9   4.66   Arias was damaged by these violations as she can no longer complete her social welfare
10
     degree in an economically feasible manner, and she has been denied a social work position that
11
     she would have been fulfilling had defendants not infringed upon her rights.
12
13   4.67   Arias was also damaged emotionally by the many personal attacks made upon her by
14
     Defendants for her religious viewpoints.
15
     4.68   Defendants acted with malice or callous indifference by repeatedly insulting Arias’ beliefs
16
17   and refusing Arias’ repeated requests that her religious beliefs be respected.
18
     4.69   Arias seeks an award of damages, past and future, penalties, fees, and costs, and injunctive
19
     relief so that she may complete her degree in social work at UWT without continuing infringement
20
21   upon her religious beliefs.
22
                                        Fourth Cause of Action
23            42 U.S.C. § 1983 – First Amendment Right to Freedom of Speech (Retaliation)
24
     4.70   Defendants Harner, Sellmaeir, Hill, Miller, and Ndura violated Claudia Arias’ free speech
25
     rights under the United States Constitution, which is actionable under 42 U.S.C. § 1983.
26
27   4.71   Defendants acted under color of state law as each were persons who held positions of
28
     authority at UWT, a state university, where they abused the power of their position to take adverse
29
     action against Arias because she would not conform her speech and redress to align with their
30
31   political views on transgender issues. Specifically, Arias referred to Harner using the pronoun
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 1   “she” rather than Harner’s desired improper pronoun “they” and Arias prepared a zine and
 2
     advocated in support of its content that defendants labeled “transphobic” and inconsistent with
 3
     social work values, and then demanded she assimilate to their views and write a paper that
 4
 5   conformed with their beliefs and rejected Arias’ beliefs.
 6
     4.72   Arias engaged in protected speech and redress when presenting her zine at UWT and when
 7
     defending it and when seeking redress by speaking to defendants and advocating for herself before
 8
 9   the professional standards committee and via e-mail wherein she sought to be heard and respected
10
     on her views of public concern.
11
     4.73   Arias did not engage in protected activities that were disruptive. Arias directed her
12
13   protected speech and redress to defendants in a manner that aligned with UWT policy. Arias
14
     asserted that defendants were disregarding UWT policy when disregarding the requirement that
15
     Harner make good faith efforts to resolve any issues with Arias. Harner shunned Arias in violation
16
17   of policy and professional standards. Harner vilified Arias for no legitimate reason.
18
     4.74   Arias’ conservative views based in her religious and cultural identity in opposition to
19
     transgender advocacy views of defendants were matters of public interest. Brandi Kruse has
20
21   covered the conflict between Arias and defendants on her public podcast. Conservative versus
22
     liberal views on transgender issues were of significant political weight during the 2024 presidential
23
     elections.
24
25   4.75   Defendants had no legitimate or justifiable grounds to demand Arias assimilate to their
26
     views or adopt their measures of transphobia, which were corrupt and wrong.
27
     4.76   Defendant Harner’s actions in refusing to allow Arias the freedom to speak according to
28
29   her beliefs, and then retaliating against her for her constitutionally protected speech by referring
30
     Arias to the PSC and participating in the PSC meeting that led to adverse action being taken against
31
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 1   Arias, were a direct and proximate cause of damages suffered by Arias.
 2
     4.77   Defendant Sellmaier’s actions in refusing to allow Arias the freedom to speak according to
 3
     her beliefs, and then retaliating against her for her constitutionally protected speech by
 4
 5   participating in the PSC meeting that led to adverse action being taken against Arias, were a direct
 6
     and proximate cause of damages suffered by Arias.
 7
     4.78   Defendant Hill’s actions in refusing to allow Arias the freedom to speak according to her
 8
 9   beliefs, and then retaliating against her for her constitutionally protected speech by participating
10
     in the PSC meeting that led to adverse action being taken against Arias, and finally kicking Arias
11
     out of the BASW program, were a direct and proximate cause of damages suffered by Arias.
12
13   4.79   Defendant Ndura’s actions in refusing to allow Arias the freedom to speak according to
14
     her beliefs were a direct and proximate cause of damages suffered by Arias.
15
     4.80   Defendants retaliated against Arias for exercising her First Amendment Right to Free
16
17   Speech when the Defendants:
18
        (a) Convened a PSC meeting to take adverse action against Arias on the basis of her exercise
19
            of Free Speech; and
20
21      (b) Dropped Arias from her internship and the social welfare program because she exercised
22
            her First Amendment Right to Freedom of Speech in a way that was offensive to
23
            Defendants.
24
25   4.81   Arias was damaged by these violations as she can no longer complete her social welfare
26
     degree in an economically-feasible manner.
27
     4.82   Arias was also damaged emotionally by the many personal attacks made upon her by
28
29   Defendants for speaking ideas deemed offensive by Defendants and continues to be so harmed and
30
     damaged.
31
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 1   4.83    Defendants acted with malice or callous indifference by repeatedly insulting Arias for
 2
     speaking and seeking redress that aligned with her legitimate views and then ultimately depriving
 3
     her, on the basis of her constitutionally protected speech, the ability to complete the social welfare
 4
 5   degree she was so close to finishing.
 6
     4.84    Defendants’ misconduct caused Arias to be denied an internship and employment
 7
     opportunities as a social worker.
 8
 9   4.85    As a direct and proximate result of defendants’ misconduct Arias has incurred losses and
10
     continues to incur losses, special and general, all in an amount to be proven at the time of trial.
11
     4.86    Arias seeks to recover for her losses to include special and general damages, past and
12
13   future, and penalties, fees, and costs for defendants’ violations of her rights.
14
                                          Fifth Cause of Action
15          42 U.S.C. § 1983 – First Amendment Right to Freedom of Speech (Compelled Speech)
16   4.87    Each Defendant was acting under color of state law, as they were acting within the scope
17
     of their employment at a state university, were engaged in administering policies of the university,
18
19   and had responsibility for taking adverse actions against students like Arias on behalf of the

20   university.
21
     4.88    Defendant Harner’s actions in referring Arias to the PSC, and participating in the PSC
22
23   meeting, which led to Arias being compelled to speak contrary to her beliefs or be expelled, were

24   a direct and proximate cause of damages suffered by Arias.
25
     4.89    Defendant Sellmaier’s actions in participating in the PSC meeting, which led to Arias being
26
27   compelled to speak contrary to her beliefs or be expelled, were a direct and proximate cause of

28   damages suffered by Arias.
29
     4.90    Defendant Hill’s actions in participating in the PSC meeting, demanding that Arias write
30
31   an essay expressing ideas she did not agree with or be terminated from the program, and finally

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 1   kicking Arias out of the BASW program for refusing to express the compelled view, were a direct
 2
     and proximate cause of damages suffered by Arias.
 3
     4.91   Defendant Miller’s actions in demanding that Arias write an essay expressing ideas she did
 4
 5   not agree with or be terminated from the program, and finally kicking Arias out of the BASW
 6
     program for refusing to express the compelled views, were a direct and proximate cause of
 7
     damages suffered by Arias.
 8
 9   4.92   Defendant Ndura’s actions in demanding Arias “reflect on herself” to find out if she was
10
     “transphobic” were a direct and proximate cause of damages suffered by Arias.
11
     4.93   Arias’ speech was unconstitutionally compelled when Defendants took the following
12
13   actions:
14
        (a) Repeatedly denigrating Arias by calling her “transphobic” when she refused Defendants’
15
            compelled speech;
16
17      (b) Belittling Arias when she refused Defendants’ compelled speech;
18
        (c) Singling Arias out from other students to write essays using compelled speech;
19
        (d) Threatening Arias with expulsion from the program if she did not engage in compelled
20
21          speech;
22
        (e) Dropping Arias from her internship and the social welfare program because she refused to
23
            engage in compelled speech.
24
25   4.94   Arias was damaged by these violations as she can no longer complete her social welfare
26
     degree in an economically-feasible manner.
27
     4.95   Arias was also damaged emotionally by the many personal attacks made upon her by
28
29   Defendants for her refusal to speak the orthodoxy.
30
     4.96   Defendants acted with malice or callous indifference by repeatedly insulting Arias for
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 1   speaking her mind and then ultimately depriving her, on the basis of her constitutionally-protected
 2
     speech, the ability to complete the social welfare degree she was so close to finishing.
 3
     4.97   As a direct and proximate result of Defendants’ misconduct Arias has incurred losses and
 4
 5   continues to incur losses, special and general, all in an amount to be proven at the time of trial.
 6
     4.98   Arias seeks to recover for her losses to include special and general damages, past and
 7
     future, and penalties, fees, and costs for Defendants’ violations of her rights.
 8
 9                                       Sixth Cause of Action
                    42 U.S.C. § 1983 – Fourteenth Amendment Procedural Due Process
10
11   4.99   Defendants Harner, Sellmaier, Hill, Miller and Ndura were acting under color of state law,

12   as they were acting within the scope of their employment at a state university, were engaged in
13
     administering policies of the university, and had responsibility for taking adverse actions against
14
15   students like Arias on behalf of the university.

16   4.100 Arias’ expression regarding gender identity was protected by the First Amendment.
17
     4.101 Defendant Harner’s actions in referring Arias to the PSC, and participating in the PSC
18
19   meeting, which led to Arias being compelled to speak contrary to her beliefs or be expelled, were

20   a direct and proximate cause of damages suffered by Arias.
21
     4.102 Defendant Sellmaier’s actions in participating in the PSC meeting, which led to Arias being
22
23   compelled to speak contrary to her beliefs or be expelled, were a direct and proximate cause of

24   damages suffered by Arias.
25
     4.103 Defendant Hill’s actions in participating in the PSC meeting, demanding that Arias write
26
27   an essay expressing ideas she did not agree with or be terminated from the program, and finally

28   kicking Arias out of the BASW program for refusing to express the compelled view, were a direct
29
     and proximate cause of damages suffered by Arias.
30
31   4.104 Defendant Miller’s actions in demanding that Arias write an essay expressing ideas she did

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 1   not agree with or be terminated from the program, and finally kicking Arias out of the BASW
 2
     program for refusing to express the compelled views, were a direct and proximate cause of
 3
     damages suffered by Arias.
 4
 5   4.105 Defendant Ndura’s actions in demanding Arias “reflect on herself” to find out if she was
 6
     “transphobic” were a direct and proximate cause of damages suffered by Arias.
 7
     4.106 By expelling Arias from the BASW program for refusing to engage in compelled speech
 8
 9   which violated her sincerely held religious beliefs, Defendants have punished Arias for engaging
10
     in expression the First Amendment protects.
11
     4.107 The Defendants’ standards by which Arias was punished are unconstitutionally vague as
12
13   they relate to this issue, as there are no objective criteria, factors, or standards defining what Arias
14
     had done wrong.
15
     4.108 This lack of objective standard allowed Defendants to punish Arias in a very damaging
16
17   way based solely on their own beliefs, and on unwritten, personal interpretations of the standards,
18
     thus violating Arias’ right to due process of law under the Fourteenth Amendment.
19
     4.109 As a direct and proximate result of efendants’ misconduct, Arias suffered harm and
20
21   damages, past and future, all in an amount to be proven at the time of trial.
22
                                           Seventh Cause of Action
23                                                 Outrage
24
     4.110 UWT, through its agents Harner, Sellmaier, Hill, Miller, and Ndura engaged in extreme
25
     and outrageous conduct against Arias in their individual and official capacities.
26
27   4.111 UWT’s agents engaged in this conduct in the scope of their employment at UWT and
28
     utilizing their positions of authority at UWT, as well as the disciplinary resources at their disposal.
29
     4.112 UWT’s misconduct in repeatedly using offensive slurs against Arias, denigrating and
30
31   belittling her religious beliefs, bringing punitive action against her for her sincerely-held religious
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 1   beliefs, and finally expelling her from the BASW program, ending her dream of becoming a social
 2
     worker, went beyond the bounds of decency and was intolerable in a civilized community.
 3
     4.113 UWT’s misconduct was particularly offensive because of the position of authority its
 4
 5   agents exercised over Arias and her future.
 6
     4.114 In this case, there was repeated, damaging, highly offensive conduct engaged in by people
 7
     who hold themselves out as leaders in the community, and who possessed significant authority
 8
 9   over Arias.
10
     4.115 According to Defendant UWT’s website: “[t]he University of Washington Tacoma is
11
     committed to maintaining a campus environment that is conducive to the freedom of expression
12
13   and inquiry, academic integrity and honesty, and behaviors that are free of causing harm and
14
     damage to persons or property. All members of the campus community (students, faculty and staff)
15
     have an obligation to assist in achieving this.”
16
17   4.116 UWT’s misconduct was particular outrageous given its stated purpose of higher education
18
     and social work values of inclusivity.
19
     4.117 UWT’s acts in repeatedly using offensive slurs against Arias, denigrating and belittling her
20
21   religious beliefs, bringing punitive action against her for her sincerely-held religious beliefs, and
22
     finally expelling her from the BASW program, ending her dream of becoming a social worker,
23
     were intentional.
24
25   4.118 UWT’s intentional outrageous acts were the direct and proximate cause of severe
26
     emotional distress to Arias.
27
     4.119 As a direct and proximate result of UWT’s misconduct, Arias has suffered harm and
28
29   damages, economic and non-economic, past and future all in an amount to be proven at the time
30
     of trial.
31
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 1                                        Eighth Cause of Action
                                  Negligent Infliction of Emotional Distress
 2
 3   4.120 UWT, through its agents Harner, Sellmaier, Hill, Miller, and Ndura, negligently inflicted
 4
     emotional distress on Arias.
 5
     4.121 UWT’s agents inflicted emotional distress in the scope of their employment at UWT and
 6
 7   utilizing their positions of authority at UWT, as well as the disciplinary resources at their disposal.
 8
     4.122 As a student in the UWT BASW program, UWT owed Arias a duty of care.
 9
     4.123 UWT’s conduct in repeatedly using offensive slurs against Arias, denigrating and belittling
10
11   her religious beliefs, bringing punitive action against her for her sincerely-held religious beliefs,
12
     and finally expelling her from the BASW program, ending her dream of becoming a social worker,
13
     breached that duty of care and was the direct and proximate cause of emotional distress
14
15   experienced by Arias.
16
     4.124 It was foreseeable that Arias would be harmed by these actions.
17
     4.125 Arias’ emotional distress resulted in objective symptomology that can be proven through
18
19   medical diagnosis. She suffered fear, worry, upset, anxiety, depression, sleeplessness, shame, and
20
     anger.
21
     4.126 Arias received medical treatment related to the emotional distress.
22
23   4.127 As a direct and proximate result of UWT’s negligent infliction of emotional distress, Arias
24
     was harmed and damaged, economic and non-economically, past and future, all in an amount to
25
     be proven at the time of trial.
26
27                                         Ninth Cause of Action
                               Tortious Interference with Business Expectancy
28
29   4.111 UWT, by and through its agents Harner, Sellmaier, Hill, Miller and Ndura, tortiously
30
     interfered with Arias’ business expectancies and her contractual interests in her internship.
31
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 1   4.128 Claudia Arias had a valid business expectancy that she would graduate with honors from
 2
     UWT in Spring of 2024 and seek employment as a social worker. Claudia Arias secured an
 3
     internship, to complete her academic credentials, which was a step towards future employment as
 4
 5   a social worker at with the internship host or other service providers.
 6
     4.129 UWT and its agents Harner, Sellmaier, Hill, and Ndura, knew that Arias expected to
 7
     become a social worker for a living and that she had secured a valued practicum placement. They
 8
 9   knew her professional success depended upon her academic success and that her practicum was
10
     dependent upon enrollment in the academic program.
11
     4.130 When UWT expelled Arias from the BASW program on December 8, 2023, she had
12
13   already been placed in a practicum with Consejo Counseling.
14
     4.131 It is common for students to be hired after graduation by the organization where they did
15
     their practicum.
16
17   4.132 UWT knew or should have known, that when Arias successfully complete the practicum,
18
     she would likely have a future job opportunity at that organization.
19
     4.133 Arias is in fact currently employed at Consejo Counseling; however, she earns less and has
20
21   fewer opportunities because UWT prevented her academic success when denying her academic
22
     standing to participate in a practicum and when publishing false criticisms to the effect that she
23
     lacked social work values.
24
25   4.134 UWT knew that Arias would have fewer career and economic opportunities without a
26
     social work degree and because she did not qualify academically for the competitive credentials.
27
     4.135 UWT knew or should have known specifically that Arias would either not be placed at
28
29   Consejo Counseling in a social worker role, or would have less opportunities at Consejo
30
     Counseling and elsewhere, were they to ban her from the UWT social work program.
31
32                                                                                   III BRANCHES LAW, PLLC
                                                                                              Joan K. Mell
33                                                                                    1019 Regents Blvd. Ste. 204
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 1   4.136 UWT acted intentionally in negatively impacting Arias’ contractual relationship with
 2
     Consejo Counseling and with regard to her broader business expectancies to work as a social
 3
     worker.
 4
 5   4.137 UWT’s interferences were for an improper purpose, namely to discriminate against Arias
 6
     for her religious beliefs and retaliate against her for her constitutionally protected speech.
 7
     4.138 UWT interfered with Arias’ business expectancies by improper means, namely by violating
 8
 9   Arias’ First Amendment and Fourteenth Amendment rights and otherwise engaging in unlawful
10
     harassment and prejudice. UWT blacklisted Arias from social work on false claims that she was
11
     transphobic and prejudiced.
12
13   4.139 UWT’s tortious interferences were the direct and proximate cause of harm and damages
14
     suffered by Arias in the past and continuing into the future, all in an amount to be proven at the
15
     time of trial.
16
17                                         Tenth Cause of Action
                                                Negligence
18
19   4.140 UWT was negligent.
20
     4.141 UWT owed Arias a duty of care.              This duty derived from the student-university
21
     relationship.
22
23   4.142 Arias was an enrolled student exposed to Harner, Sellmaier, Hill, Miller, and Ndura,
24
     UWT’s agents, obligated to Arias to provide services for her to achieve academic success in
25
     conformance with the statutory and policy obligations of UWT to higher education and academic
26
27   achievement.
28
     4.143 Aspects of this duty are elucidated in UWT’s own policies, as well as state statutes
29
     governing higher education.
30
31   4.144 UWT’s mission statement commits it to “maintaining an environment for objectively and
32                                                                                       III BRANCHES LAW, PLLC
                                                                                                  Joan K. Mell
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 1   imaginative inquiry and for the original scholarship and research that ensure the production of new
 2
     knowledge in the free exchange of facts, theories, and ideas”; “foster[ing] an environment in which
 3
     its students can develop mature an independent judgment and an appreciation of the range and
 4
 5   diversity of human achievement”; and “cultivat[ing] in its students both critical thinking and the
 6
     effective articulation of that thinking.”
 7
     4.145 UWT’s Diversity Blueprint committed Defendants to “actively work[ing] to create and
 8
 9   maintain learning, working, living, and healthcare spaces in which students… from diverse
10
     backgrounds believe they can thrive” and fostering “a welcoming climate that is accessible,
11
     inclusive, and equitable.”
12
13   4.146 RCW 28B.10.145 requires “each institution of higher education… provide professional
14
     development” the purpose of which must be “rooted in eliminating structural racism against all
15
     races and promoting diversity, equity, and inclusion while improving academic, social, and health
16
17   and wellness outcomes for students from historically marginalized communities.”
18
     4.147 UWT breached its duties to Arias to maintain “an environment for objectively and
19
     imaginative inquiry and for the original scholarship and research that ensure the production of new
20
21   knowledge in the free exchange of facts, theories, and ideas” when they impeded free exchange of
22
     Arias’ ideas by limiting and compelling her speech regarding transgender issues. Defendants also
23
     did not allow Arias the right or freedom of “imaginative inquiry” or expression.
24
25   4.148 Defendants breached their duty to Arias to foster “an environment in which its students can
26
     develop mature an independent judgment and an appreciation of the range and diversity of human
27
     achievement” by penalizing her independent judgment regarding transgender issues and otherwise
28
29   not respecting or encouraging her independent judgment.
30
     4.149 UWT breached its duty to Arias to cultivate “critical thinking and articulation of that
31
32                                                                                      III BRANCHES LAW, PLLC
                                                                                                 Joan K. Mell
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 1   thinking” when they insulted and shunned Arias for her thinking and articulation of that thinking
 2
     and penalized her for holding orthodox views.
 3
     4.150 UWT breached its duty to Arias to actively work to create and maintain spaces where
 4
 5   students like Arias (a student “from [a] diverse background) believed they could thrive when they
 6
     banned her from a space she was thriving and discouraged her belief in herself by ridiculing,
 7
     shunning and penalizing her for her beliefs.
 8
 9   4.151 UWT breached its duty to Arias to foster “a welcoming climate” that was “accessible,
10
     inclusive, and equitable” by refusing to respect or accommodate her religious and cultural beliefs,
11
     and ultimately making the learning environment inaccessible to her.
12
13   4.152 UWT breached its duty to Arias to promote professional development by “improving
14
     academic, social, and health and wellness outcomes for students from historically marginalized
15
     communities.” Arias is a student from a historically marginalized community and her “academic,
16
17   social, and health and wellness outcomes” were actively harmed by UWT’s misconduct.
18
     4.153 UWT’s breaches were the direct and proximate cause of harm and damages, economic and
19
     non-economic, to Arias that she has suffered and will continue to suffer into the foreseeable future
20
21   all in an amount to be proven at the time of trial.
22
     4.154 Arias’ damages include the fact that she can no longer complete her social welfare degree
23
     in an economically-feasible manner; she has suffered the loss of her chosen profession; loss of
24
25   good will and reputation; and has endured unwarranted harassment and hostilities.
26
                                      V.      PRAYER FOR RELIEF
27
     Plaintiff Claudia Arias prays for the following relief:
28
29   5.01   A jury trial to resolve any factual issues;
30
     5.02   An award of damages, economic and non-economic, past and future, all in an amount to
31
32                                                                                     III BRANCHES LAW, PLLC
                                                                                                Joan K. Mell
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 1   be proven at the time of trial;
 2
     5.03    An award of punitive damages;
 3
     5.04    Pursuant to 42 U.S.C. § 1988 and RCW 49.60.030, an award of attorney’s fees, costs, and
 4
 5   any penalties;
 6
     5.05    An order vacating defendants’ expulsion of Arias, voiding any blacklisting, enjoining any
 7
     continuing restraint on Arias’ free exercise of religion, and restraint on her completing her
 8
 9   education in social work at UWT and being awarded her Baccalaureate degree from the social
10
     work program;
11
     5.06    Other relief deemed just and equitable.
12
13                    DATED January 10, 2025, at Hamilton, Montana.
14                    III Branches Law, PLLC
15
16
17
                      Joan K. Mell, WSBA #21319
18                    Attorney for Claudia Arias
19
             I, Claudia Arias, certify that the factual allegations set forth in this Complaint are true and
20
21   correct to the best of my abilities.

22                    DATED January 10, 2025.
23
24
                       Claudia Arias
25
26
27
28
29
30
31
32                                                                                       III BRANCHES LAW, PLLC
                                                                                                  Joan K. Mell
33                                                                                        1019 Regents Blvd. Ste. 204
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                                                                                                           REFERENCE NUMBER
                                                                                                           81894A9D-1901-4E13-8F45-16FF1E7274D4
SIGNATURE CERTIFICATE


TRANSACTION DETAILS                                                             DOCUMENT DETAILS
Reference Number                                                                Document Name
81894A9D-1901-4E13-8F45-16FF1E7274D4                                            2024 1 10 Arias Complaint
Transaction Type                                                                Filename
Signature Request                                                               2024_1_10_Arias_Complaint.pdf
Sent At                                                                         Pages
01/10/2025 06:40 -08:00                                                         47 pages
Executed At                                                                     Content Type
01/10/2025 09:09 -08:00                                                         application/pdf
Identity Method                                                                 File Size
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Claudia Arias                                      signed                                                             01/10/2025 09:05 -08:00
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Components                                         IP Address                                                         Signed At
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